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FIZ.EE,) 331th D ,`
IN THE UNITED STATES DlSTRlCT C()URT ~"" 'L"
F()R THE WESTERN DISTRICT OF TENNESSEEOS JUN l 3 AH 8, l 5

 

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MARVIN FoRGUsoN AND chsTIE FoRGUsoN, "*"*’1' U §F T`N` H§TKSCCIRJ
PLAlN'nFFs

vERSUS NUMBER; 1_05_1033-T/An

CALIFORNIA REO PROPERTY MANAGEMENT
CORP., TOWN & COUNTRY REAL ESTATE
COMPANY, INC., a/k/a TOWN & COMPANY
REALTORS, LICENSED AND d/b/a TOWN &
COUNTRY, INC., REALTORS GMAC, THE COACH
APPROACH REALTY, LLC, d/b/a CRYE-LEIKE
THE COACH APPROACH REALTY, LLC, JOYCE
SHEARIN, KELLY SHEARIN, PAM FLEMING AND
LARRY FLEMING,

DEFENDANTS

 

-FP=RQ¥@SEB'~} RULE 16(b) SCHEDULING ()RDER

 

Pursuant to the Scheduling conference set by written notice, the following dates are

established as the final dates for:

lNITIAL DISCLOSURES (RULE 26(a)(l)): June 21, 2005
JOINING PARTIES:
PLAINT]FF: August 21, 2005
DEFENDANTS: Septernber 21, 2005
AMENDING PLEADINGS:
PLAINTIFF: August 21, 2005
DEFENDANTS: Septernber 2l, 2005

This document entered on the docket sheet in compliance

with eula 53 and/or ve (a) FRCP on _QL?_!§_‘&§ _____

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COMPLETING ALL DISCOVERY: February l, 2006

REQUESTS FOR PRODUCTION, INTERROGATORIES
AND REQUESTS FoR ADMISSIoNS: February 1, 2006

EXPERT oisCLosURE (Ruie 26(3)(2)):

PLAINTIFF: December l, 2005
DEFENDANTS: Deccmber l5, 2005
SUPPLEMENTATION OF EXPERT DISCLOSURE UNDER
RULE 26 (e): January l, 2006
DEPOSITIONS OF EXPERTS: January 21, 2006
FILING DISPOSITIVE MOTIONS: February l, 2006

FINAL LIST oF WITNESSES AND EXHIBITS (Rule 26(a)(3)):

PLAINTIFF: March 17, 2006
DEFENDANT: April 3, 2006

Parties shall have 10 days after service of final lists of witnesses and exhibits to file
objections under Rule 26(3)(3)_

The trial of this matter is expected to last 4 days and is set for Iury Trial on May l, 2006,
at 9:30 am. A joint pretrial order is due on April 21, 2006. ln the event the parties are unable to
agree on a joint pretrial order, the parties must notify the Court at least ten days before trial.

OTHER RELEVANT MATTERS:

Interrogatories, Requests for Production and Requests for Admissions must be Submitted
to the opposing party in sufficient time for the opposing party to respond by the deadline for
completion of discovery. For example, if the FRCP allow 30 days for a party to respond, then
the discovery must be submitted at least 30 days prior to the deadline for completion of
discovery.

Motions to compel discovery are to be filed and served by the discovery deadline or

within 30 days of the default or service of the response, answer, or objection which is the subject
of the motion if the default occurs within 30 days of the discovery deadline, unless the time for

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filing of such motion is extended for good cause shown, or any objection to the default, response,
or answer Shall be waived.

The parties are reminded that pursuant to Local Rule 7(a)(l)(A) and (a)(l)(B), all
motions, except motions pursuant to FRCP 12, 56, 59 and 60 shall be accompanied by a
proposed ()rder and a Certificate of Consultation.

The opposing party may file a response to any motion filed in this matter. Neither party
may file an additional rep]y, however, without leave of court. lf` a party believes that a reply is
necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for Which a reply is required.

The parties may consent to trial before the Magistrate Judge. The Magistrate Judge can
normally provide the parties with a definite trial date that will not be continued unless a
continuance is agreed to by all the parties, or an emergency arises Which precludes the matter
from proceeding to trial.

The parties are encouraged to engage in court-annexed attorney mediation or
private mediation on or before the close of discoverv.

 

This order has been entered after consultation with trial counsel pursuant to notice.
Absent good cause shown, the scheduling dates set by this Order will not be modified or

extended
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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

DATE; ‘ /df, 200_(/

IT IS SO ORDERED.

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APPROVED:

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Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
case 1:05-CV-01038 was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

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Honorable .l ames Todd
US DISTRICT COURT

